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9
10                               UNITED STATES DISTRICT COURT

11                           NORTHERN DISTRICT OF CALIFORNIA

12
13   JONATHAN HOANG TO; JEFFRY HEISE;                       Case No 3:24-CV-06447-WHO
     and JOSEPH MULL, individually and on
14   behalf of all others similarly situated,               STIPULATION TO EXTEND
                                                            BRIEFING SCHEDULE ON
15                                                          DEFENDANTS’ MOTION TO STAY
                             Plaintiff,                     AND COMPEL ARBITRATION AND
16                                                          CONTINUE HEARING DATES;
     v.                                                     [PROPOSED] ORDER
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18   DIRECTTOU, LLC; and ALLIANCE
     ENTERTAINMENT, LLC, Delaware Limited
19   Liability Companies
                         Defendants.
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                                    STIPULATION TO EXTEND BRIEFING SCHEDULE
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                Pursuant to Civil Local Rule 6-12 and 7-12, Plaintiffs Jonathan Hoang To, Jeffry Heise,
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     and Joseph Mull (“Plaintiffs”) and Defendants DirectToU, LLC and Alliance Entertainment, LLC
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     (collectively, “Defendants”) hereby stipulate and request that the Court extend the briefing schedule
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     on Defendants’ pending Motion to Compel Arbitration, and continue the hearing date on that
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     Motion and on Plaintiffs’ pending Motion to Appoint Interim Co-Lead Class Counsel, as follows:
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                1.       On March 3, 2025, Plaintiffs filed their Motion for Appointment of Interim Co-
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     Lead Class Counsel. Dkt. 79. On March 10, 2025, the Court re-set the hearing on that Motion to
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     April 16, 2025. Dkt. 83.
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                2.       On March 10, 2025, Defendants filed their Motion to Stay and Compel Arbitration.
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     Dkt. 80.        Pursuant to Civil L.R. 7-3, Plaintiffs’ opposition is due by March 24, 2025; and
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     Defendants’ reply is due by March 31, 2025. The hearing on that Motion is scheduled for April 16,
12
     2025.
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                3.       The parties have conferred and agree that Plaintiffs’ deadline to respond to the
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     Motion to Stay and Compel Arbitration be extended by 14 days, until April 7, 2025; and
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     Defendants’ deadline to Reply be extended by 14 days, until April 28, 2025.
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                4.       In order to accommodate the extended briefing schedule, the parties also agree that
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     the hearing on Defendants’ Motion to Stay and Compel Arbitration be continued from April 16,
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     2025 until June 4, 2025 at 2:00 p.m., the earliest available date on the Court’s motion calendar.
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                5.       In order to conserve the resources of the parties and the Court, the parties further
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     agree that the hearing on Plaintiffs’ Motion for Appointment of Interim Co-Lead Class Counsel be
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     continued to June 4, 2025, to be heard concurrently with the Motion to Stay and Compel
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     Arbitration.
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                                       STIPULATION TO EXTEND BRIEFING SCHEDULE
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              6.      These requested extensions will not require changes to any other deadlines in this
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     case.
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      IT IS SO STIPULATED.
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      Dated: March 12, 2025                                  BAKER & HOSTETLER LLP
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7                                                    By:     /s/ Bonnie DelGobbo
                                                             Bonnie Keane DelGobbo
8                                                            Attorneys for Defendants
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11                                                           HAMMONDLAW, P.C.

12
                                                     By:      /s/ Julian Hammond
13                                                           Julian Hammond
                                                             Attorneys for Plaintiff
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15
                                                ATTESTATION
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              Pursuant to Civil Local Rule 5-1(i)(3), I, Julian Hammond, hereby certify that I have
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     obtained the concurrence in the filing of the foregoing Stipulation from all other signatories listed
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     above.
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                                     STIPULATION TO EXTEND BRIEFING SCHEDULE
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                                          PROPOSED ORDER
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              PURSUANT TO THE STIPULATION, THE COURT ORDERS AS FOLLOWS:
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              1.     Plaintiffs’ deadline to file its opposition to Defendants’ Motion to Stay and
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     Compel Arbitration, currently March 24, 2025, is hereby continued until April 7, 2025.
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              2.     Defendants’ deadline to file its Reply in support of its Motion to Stay and Compel
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     Arbitration, currently March 31, 2025, is hereby continued until April 28, 2025.
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              3.     The hearing on Defendant’s Motion to Stay and Compel Arbitration, currently
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     scheduled for April 16, 2025, is hereby continued until June 4, 2025 at 2:00 p.m.
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              4.     The hearing on Plaintiffs’ Motion for Appointment of Interim Co-Lead Class
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     Counsel, also currently scheduled for April 16, 2025, is hereby continued until June 4, 2025 at
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     2:00 p.m.
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     IT IS SO ORDERED.
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15 Dated:_________________                                 ____________________________
                                                           HON. WILLIAM H. ORRICK
16                                                         UNITED STATES DISTRICT JUDGE
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                                    STIPULATION TO EXTEND BRIEFING SCHEDULE
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